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   Memorandum
   CASE NO.         sA
   Subject:
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   United States v. Michael John Avenatti                       Apri19, 2019          `~t `~K ~~~` ~~'" ~~ ~?itir couRr


  To:                                                           From:
                                                                                     ~,rr~a~_ ~:;~sr~;t~T OF CALiFG
  KIRY K. GRAY                                                  BRETT A. SA                                     f1Ft

  Clerk, United States District Court                           Assistant United States Attorney
  Central District of California                                Criminal Division



 The accompanying matter being filed on April 10, 2019

          ❑     relates to          D     does not relate to

(1) a matter pending in the Criminal Division ofthe USAO at any time between October 2002 and October 5, 2003,
 the dates during which Jacqueline Chooljian was Chief ofthe Criminal Division in the USAO;(2)a matter pending
 in the Major Frauds Section ofthe USAO at any time between October 5, 2003 and January 6, 2006, the date on
 which Jacqueline Chooljian resigned her appointment in the USAO; or(3) a matter in which Jacqueline Chooljian
 was personally involved or on which she was personally consulted while employed in the USAO.


          ❑     relates to          D     does not relate to

 a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while
 employed in the USAO.


          ❑     relates to          Ox    does not relate to

(1) a matter pending in the Riverside Branch ofthe USAO at any time between October 2, 2006 and Apri14, 2011,
the dates spanning the date when Sheri Pym became the Chief ofthe Riverside Branch ofthe USAO and the date
 when she resigned her appointment in the USAO; or (2) a matter in which Sheri Pym was personally involved or on
 which she was personally consulted while employed in the USAO.


          ❑     relates to          ❑X    does not relate to

(1) a matter pending in the Major Frauds Section ofthe USAO at any time between May 8, 2009 and March 31,
2011,the dates spanning the date when Michael Wilner became a Deputy Chief ofthe Major Frauds Section ofthe
 USAO and the date when he resigned his appointment in the USAO; or(2)a matter in which Michael Wilner was
 personally involved or on which he was personally consulted while employed in the USAO.


          ❑     relates to          OX    does not relate to

(1) a matter pending in the Appellate Section ofthe USAO at any time between February 2002 and May 2002, the
 time period during which Jean Rosenbluth served as the Chief ofthe Appellate Section of the USAO;(2)a matter in
 which Jean Rosenbluth was personally involved or on which she was personally consulted while employed in the
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 USAO (between October 1, 1995 and May 31, 2002 as an Assistant United States Attorney, and between August 1,
 2002 and July 31, 2008 as a Special Assistant United States Attorney);(3)a matter in which current Assistant
 United States Attorney Richard Robinson is or has been personally involved, or a matter on which he has personally
 consulted while employed in the USAO; or(4)a matter pending in the Major Frauds Section ofthe USAO between
 May 4, 2012 and August 14, 2015, the time period during which Richard Robinson served as the Chief ofthe Major
 Frauds Section ofthe USAO.


          ❑     relates to          ❑X    does not relate to

(1)a matter pending in the Major Frauds Section of the USAO at any time between December 2001 and August 20,
2013,the dates spanning the date when Alka Sagar became a Deputy Chief ofthe Major Frauds Section ofthe
 USAO and the date when she resigned her appointment in the USAO;(2)a matter pending in the Major Crimes
 Section ofthe USAO at any time between January 1991 and December 2001, the time period during which Alka
Sagar served as a Deputy Chief ofthe Major Crimes Section ofthe USAO; or(3) a matter in which Allca Sagar was
personally involved or on which she was personally consulted while employed in the USAO.


          ❑     relates to          ❑x    does not relate to

(1)a matter pending in the Santa Ana branch ofthe USAO at any time between Apri12007, to August 22, 2013,the
 dates spanning the date when Douglas McCormick became a Deputy Chief of Santa Ana Branch ofthe USAO and
the date when he resigned his appointment in the USAO; or(2)a matter in which Douglas McCormick was
 personally involved or on which he was personally consulted while employed in the USAO.


         ❑      relates to         D      does not relate to

(1) a matter pending in the General Crimes Section ofthe USAO at any time between January 12, 2012, and April
30, 2015,the dates spanning the date when Rozella Oliver became a Deputy Chief ofthe General Crimes Section of
the USAO, and subsequently, Chief ofthe General Crimes Section of the USAO, and the date when she resigned her
appointment in the USAO; or(2)a matter in which Rozella Oliver was personally involved or on which she was
personally consulted while employed in the USAO; or(3) a matter in which former Assistant United States Attorney
Evan Davis is or has been personally involved, or a matter on which he has personally consulted while employed in
the USAO.


         ❑      relates to         ❑x     does not relate to

a matter in which Gail J. Standish was personally involved or on which she was personally consulted while
employed in the USAO (from May 1997 to Apri12001).

         ❑     relates to          ❑x     does not relate to

a matter in which Steve Kim was personally involved or on which he was personally consulted while employed in
the USAO (from September 2003 to November 2007).

         ❑     relates to          OX     does not relate to

a matter in which John Early was personally involved or on which he was personally consulted while employed in
the USAO (from June 1999 to January 2005).


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        ❑      relates to         D     does not relate to

a matter in which Shashi H. Kewalramani was personally involved or on which he was personally consulted while
employed in the USAO (from Apri12008 to January 2011).




                                                           BRETT A. SAGEL
                                                           Assistant United States Attorney
                                                           Criminal Division




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